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   DANNY LOPEZ, individually, and on
 8 behalf of other aggrieved employees
 9
                           UNITED STATES DISTRICT COURT
10
                      CENTRAL DISTRICT OF CALIFORNIA
11
12
   DANNY LOPEZ, individually, and on            Case No. CV 21-7108-DMG (Ex)
13 behalf of other aggrieved employees
                                                [Assigned to the Hon. Dolly M. Gee,
14              Plaintiff,                      Courtroom 8C]
15       vs.                                    JOINT STATUS REPORT
16 AIRCRAFT SERVICE
   INTERNATIONAL, INC., a                       Action Filed:    July 21, 2021
17 corporation; AIR MENZIES                     Removal Date:    September 2, 2021
   INTERNATIONAL (USA), INC., a                 Trial Date:      None set
18 corporation; MENZIES AVIATION
   (USA), INC., a corporation; and DOES
19 1 through 50, inclusive,
20             Defendants.

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 1             Plaintiff Danny Lopez (“Plaintiff”) and Defendants Aircraft Service
 2 International, Inc. and Menzies Aviation (USA), Inc. (collectively, “Defendants”1),
 3 by and through their counsel of record, hereby submit the following Joint Status
 4 Report pursuant to the Court’s September 20, 2024 order. Doc. # 50.
 5 I.          STATUS OF DISCOVERY
 6             A.     Plaintiff’s Statement
 7             On December 9, 2022, the Court issued an order denying Defendants’ motion
 8 to compel arbitration. Doc. # 39.
 9             On December 14, 2022, Plaintiff served Requests for Production of Documents
10 and Interrogatories on Defendants. On the same date, Plaintiff also served a
11 deposition notice on each Defendant pursuant to Fed. R. Civ. P. 30(b)(6).
12             On January 9, 2023, Defendants filed a Notice of Appeal regarding the Court’s
13 order denying Defendants’ motion to compel arbitration. Doc. # 41.
14             On March 14, 2023, the parties filed a Stipulation to Stay Case and Vacate
15 Scheduling Order. Doc. # 44. On March 16, 2023, the Court entered an order
16 vacating the scheduling order and staying this action in its entirety until the resolution
17 of the appeal. Doc. # 45.
18             Defendants have agreed to serve responses by October 24, 2024 to the
19 discovery propounded by Plaintiff on December 14, 2022. Given that Defendants
20 have not responded to discovery or produced any documents and no depositions have
21 taken place, Plaintiff requests that the Court set the non-expert discovery cut-off in
22 approximately five months.
23             B.     Defendants’ Statement
24             Defendants are working on a petition for certiorari to the United States
25 Supreme Court that is due to be filed by November 27, 2024. In the event the
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     1
         Defendants have previously notified the Court that Air Menzies International (USA), Inc. does
28
              not exist and is not a proper defendant in this matter, and Plaintiff has not contested it such
              that the “Court disregards this defendant.” (See Dkt. No. 39.)
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 1 Supreme Court grants certiorari, Defendants believe a further stay of this action will
 2 be necessary and required. In the interim however, Defendant will proceed with
 3 discovery responses as indicated in Plaintiff’s Statement supra.
 4 II.    ALTERNATIVE DISPUTE RESOLUTION
 5        A.     Plaintiff’s Statement
 6        The parties participated in a private mediation on July 21, 2022. Defendants
 7 refused to produce any data for other aggrieved employees prior to the mediation. As
 8 a result, the mediation was unsuccessful.
 9        Plaintiff is open to participating in another mediation if Defendants produce
10 the timekeeping and pay records for all other allegedly aggrieved employees in
11 advance of the mediation, as well as all applicable written policies and collective
12 bargaining agreements.
13        B.     Defendants’ Statement
14        Defendant will proceed with discovery responses as indicated in Plaintiff’s
15 Statement supra. At this time however, Defendants cannot evaluate the prospects or
16 utility of mediation until it knows whether the Supreme Court will grant certiorari
17 review of this matter.
18 III.   PROPOSED SCHEDULE OF PRETRIAL AND TRIAL DATES
19                     Matter                        Plaintiff’s          Defendants’
                                                   Proposed Date         Proposed Date
20
     Trial [X] Court [ ] Jury                         7-15-25         No date should be set
21   Duration estimate: 15 days                                       until the Supreme
22                                                                    Court has acted on
                                                                      Defendants’
23                                                                    forthcoming petition
24   Final Pretrial Conference                        6-17-25         No date should be set
     (4 weeks before trial)                                           until the Supreme
25
                                                                      Court has acted on
26                                                                    Defendants’
                                                                      forthcoming petition
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 1                    Matter                        Plaintiff’s          Defendants’
                                                  Proposed Date         Proposed Date
 2
     Non-Expert Discovery Cut-Off                    3-4-25                  3-4-25
 3   (includes hearing of discovery motions)
 4   Motion Cut-Off (filing deadline)                3-14-25                3-14-25
     Last hearing date for dispositive motions       4-11-25                4-11-25
 5
     Initial Expert Disclosure & Report              4-8-25          No date should be set
 6   Deadline                                                         until the Supreme
                                                                      Court has acted on
 7
                                                                         Defendants’
 8                                                                   forthcoming petition
     Rebuttal Expert Disclosure & Report             5-6-25          No date should be set
 9
     Deadline                                                         until the Supreme
10                                                                    Court has acted on
                                                                         Defendants’
11
                                                                     forthcoming petition
12   Settlement Conference Completion Date           5-13-25         No date should be set
13                                                                    until the Supreme
                                                                      Court has acted on
14                                                                       Defendants’
15                                                                   forthcoming petition
     Joint Status Report re Settlement               5-20-25         No date should be set
16                                                                    until the Supreme
17                                                                    Court has acted on
                                                                         Defendants’
18                                                                   forthcoming petition
19   Expert Discovery Cut-Off                        5-20-25         No date should be set
     (includes hearing of discovery motions)                          until the Supreme
20                                                                    Court has acted on
21                                                                       Defendants’
                                                                     forthcoming petition
22   Motions in Limine Filing Deadline               5-27-25         No date should be set
23                                                                    until the Supreme
                                                                      Court has acted on
24                                                                       Defendants’
25                                                                   forthcoming petition
     Opposition to Motions in Limine Filing          6-3-25          No date should be set
26   Deadline                                                         until the Supreme
27                                                                    Court has acted on
                                                                         Defendants’
28                                                                   forthcoming petition
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 1                        Matter                    Plaintiff’s          Defendants’
                                                  Proposed Date         Proposed Date
 2
     Proposed Pretrial Conference Order              5-27-25         No date should be set
 3                                                                    until the Supreme
 4                                                                    Court has acted on
                                                                         Defendants’
 5                                                                   forthcoming petition
 6   Contentions of Fact/Law                         5-27-25         No date should be set
                                                                      until the Supreme
 7
                                                                      Court has acted on
 8                                                                       Defendants’
                                                                     forthcoming petition
 9
     Pretrial Exhibit Stipulation                    5-27-25         No date should be set
10                                                                    until the Supreme
                                                                      Court has acted on
11
                                                                         Defendants’
12                                                                   forthcoming petition
13   Joint Exhibit List                              5-27-25         No date should be set
                                                                      until the Supreme
14                                                                    Court has acted on
15                                                                       Defendants’
                                                                     forthcoming petition
16   Witness Lists & Joint Trial Witness Time        5-27-25         No date should be set
17   Estimate Form                                                    until the Supreme
                                                                      Court has acted on
18                                                                       Defendants’
19                                                                   forthcoming petition
     Agreed Statement of the Case                    5-27-25         No date should be set
20                                                                    until the Supreme
21                                                                    Court has acted on
                                                                         Defendants’
22                                                                   forthcoming petition
23   Proposed Voir Dire Questions                    5-27-25         No date should be set
                                                                      until the Supreme
24                                                                    Court has acted on
25                                                                       Defendants’
                                                                     forthcoming petition
26   Joint Statement of Jury Instructions &          5-27-25         No date should be set
27   Joint Statement of Disputed Instructions                         until the Supreme
                                                                      Court has acted on
28                                                                       Defendants’
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 1                     Matter                         Plaintiff’s           Defendants’
                                                    Proposed Date          Proposed Date
 2
                                                                        forthcoming petition
 3   Verdict Forms                                      5-27-25         No date should be set
 4                                                                       until the Supreme
                                                                         Court has acted on
 5
                                                                            Defendants’
 6                                                                      forthcoming petition
 7
     DATED: September 26, 2024           Respectfully submitted,
 8
                                         MATERN LAW GROUP, PC
 9
10
                                      By: /s/ Matthew W. Gordon
11                                        Matthew J. Matern
12                                        Matthew W. Gordon
                                          Irina A. Kirnosova
13                                        Attorneys for Plaintiff Danny Lopez

14
     DATED: September 26, 2024            FOLEY & LARDNER LLP
15
16
                                      By: /s/ Christopher Ward
17                                       Christopher Ward
                                         Kevin Jackson
18                                       Attorneys for Defendants Aircraft Service
                                         International, Inc., Air Menzies International
19                                       (USA), Inc., and Menzies Aviation (USA), Inc.
20
21
22                             SIGNATURE ATTESTATION
23         Pursuant to Local Rule 5-4.3.4, Plaintiff’s counsel attests that all other
24 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
25 content and have authorized the filing.
26
27                                    By: /s/ Matthew W. Gordon
                                          Matthew W. Gordon
28                                        Attorney for Plaintiff Danny Lopez

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